          Case 3:19-cv-11555-KAR Document 1 Filed 07/17/19 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                                     FOR THE
                            DISTRICT OF MASSACHUSETTS




                                  )
Suzanne Fields                    )
      Plaintiff                   )
                                  )             C.A. No. 1:19-cv-11555
                                  )
Kyle Williamson,                  )
      Defendant                   )
                                  )


                         COMPLAINT AND JURY TRIAL CLAIM

                                        THE PARTIES

                                                1.

       The plaintiff is Suzanne Fields, who is a resident of 2 Franklin Place, Washingtonville in

the State of New York.

                                                2.

       The defendant is Kyle Williamson, who is a resident of 406 Main Road, Monterey in the

Commonwealth of Massachusetts.

                                       JURISDICTION

                                                3.

       Jurisdiction is based upon diversity of citizenship pursuant to 28 U.S.C. §1332.

                                  STATEMENT OF FACTS

                                                4.

       On October 22, 2017 the plaintiff, Suzanne Fields was operating an automobile on a

public way in the Town of Great Barrington, Massachusetts.
          Case 3:19-cv-11555-KAR Document 1 Filed 07/17/19 Page 2 of 3



                                                 5.

       The plaintiff, Suzanne Fields stopped her vehicle on Route 7 at Main Street in Great

Barrington.

                                                 6.

       The defendant, Kyle Williamson on October 22, 2017 was operating an automobile.

                                                  7.

       The defendant, Kyle Williamson was traveling on a public way in Great Barrington,

Massachusetts.

                                                 8.

       As a result of the carelessness and negligence of the defendant, Kyle Williamson in the

operation of the vehicle the plaintiff, Suzanne Fields sustained personal injury, suffered damages,

including but not limited to, medical expenses, loss of earning capacity, and pain and suffering.



                                            COUNT I
                                           (Negligence)

       This is a cause of action by the plaintiff, Suzanne Fields against the defendant, Kyle

Williamson for negligence.

                                                 9.

       The plaintiff, Suzanne Fields restates all of the foregoing allegations contained in

paragraphs one (1) through eight (8) with the same force and effect as if fully restated herein.

                                                 10.

       As a result of the negligence of the defendant, Kyle Williamson the plaintiff, Suzanne

Fields suffered personal injury, incurred medical expenses, and suffered a loss of her earning

capacity, as well as pain and suffering.



                                                  2
          Case 3:19-cv-11555-KAR Document 1 Filed 07/17/19 Page 3 of 3



       WHEREFORE, the plaintiff, Suzanne Fields demands judgment against the defendant,

Kyle Williamson together with interest and costs of this action.



       THE PLAINTIFF CLAIMS TRIAL BY JURY ON ALL COUNTS AND ALL

ISSUES.

                                          The plaintiff,
                                          By her attorney,



                                          /s/ William J. Doyle, Jr.
                                          William J. Doyle, Jr.
                                          Leavis and Rest, P.C.
                                          83 Central Street
                                          Boston, MA 02109
                                          (617) 742-1700
                                          BBO #134240
                                          wjd@leavisandrest.com




                                                 3
